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UNITED STATES DISTRICT COURT

DISTRICT OF SOUTH DAKOTA
SOUTHERN DIVISION

 

Timothy J. Donohue 4:22-cv-04044-KES
CIV
Plaintiff
MOTION FOR ADMISSION
v8 PRO HAC VICE

Arthur J. Gallagher & Co., and Bob Jacobsen

3

 

Defendant.

Statement of Movant

Il, Hal A. Shillingstad , an active member of the Bar of the U.S. District Court
Nathan T. Boone

 

for the District of South Dakota, request that this Court admit pro hac vice

Arthur J. Gallagher & Co., and Bob Jacobsen .
in the

who will be counsel for the [_] plaintiff(s) [ll] defendant(s)
case listed above. I have confirmed that Natha n T. Boone is a member in good

 

 

standing of the U.S. District Court for the District of Min nesota , where

 

Nathan T. Boone 's principal practice is located. I am aware of D.S.D. Civ. LR. 83.2 (E)

 

regarding the appearance of attorneys pro hac vice.

anon WN Sh Manges

Date Signature oO :

 

Statement of Proposed Admittee

1, N athan T. Boone , am currently a member in good standing of the U.S.

 

District Court for the District of M Inn esota . lam also a member in good standing

 
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of the highest court of the state of M innesota , where my principal practice is

 

located, but am not admitted to the South Dakota Bar. I am aware of D.S.D. Civ. LR 83.2
(E) regarding the appearance of attorneys pro hac vice and understand that local counsel must
sign and file all documents, and must continue in the case unless another attorney admitted to
practice in this court is substituted. I understand that I will receive notice electronically and that

it is my responsibility to keep my electronic mail address(es) current.

First/Middle/Last Name: Nathan Tyler Boone
Primary E-mail Address: nathan.boone@ogletreedeakins.com
Other E-mail Address tobe Nathan.boone@ogletree.com

notified:

 

 

 

 

 

Telephone Number: 612.336.6862
Fax Number: 612.339.0061

Firm Name: Ogletree, Deakins, Nash, Smoak & Stewart, P.C.

 

 

 

225 S. 6th St., Suite 1800, Minneapolis, MN 55402

 

Firm Address:

 

 

MN 0398989

Bar Admission Number:

 

D.S.D. Civ. LR 83.2 (E). requires disclosure of any prior or pending disciplinary actions from those

attorneys seeking admission pro hac vice. Please list any and all such disciplinary actions.

 

 

 

 

 
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I will review and abide by the Local Rules of Practice for the District of South Dakota,
General Orders, Administrative Procedures, and all technical and procedural requirements.
These documents and current system requirements can be found on the Court's web site

located at http://www.sdd.uscourts.gov

I understand that I will receive notice electronically of all non-sealed documents and that it

is my responsibility to keep my electronic mail address(es) current.

This system is for the U.S. District Court for the District of South Dakota and will be used to
receive electronic notification of non-sealed documents that are filed with the District of
South Dakota. Each e-mail address listed will be allowed one free access to the document

filed for 15 days from the time of notification.

For additional access the user will need to have a PACER Service Account. This account
can be established by contacting the PACER Service Center at http://pacer.psc.uscourts.gov

or 1-800-676-6856.

4/29/2022 Nathan T. Boone Wir Prono

Date Type/Print Name Signature
